Case 2:05-cr-20217-.]DB Document 7 Filed 06/27/05 Page 1 of 2 Page|D 7

ratio m
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE [}5 ,JUH 21 AH 10: 15
Western Division

 

  

l§{,"~ l`i. l::’l 'l"i'iL-jl_l@

)l..._ .`:'5.`, l.’". . `T.
UNITED sTATEs 0F AMERICA §§ . @;: §§ R'§\ip§is
-vs- Case No. 2:05cr20217-B
LoNNrE sMIrH

 

ORDER OF DETENT|ON PEND|NG TR|AL
FIND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(£), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
safety of any other person and the community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

DlRECTlONS REGARD|NG DETENT|ON

LONNIE SMITH is committed to the custody of the Attomey General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. LONNIE SMITH shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: tunc 24, 2005 /(

V ' TU M. PHAM
UNITED sTArEs MAGISTRATE JUDGE

 

 

This document entered on the docket sheet tn compliance

with sale ss and/er 32(1:)) FHch on fe ‘ézd’ '06'

SDiSTRiC COURT -WESTER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-202]7 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

Javier M. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

l\/leinphis7 TN 38103

Stephanie Zander Johnson
U S ATTORNEY'S OFFICE
167 N. l\/lain St

Ste 800

l\/leinphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

